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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                             :        Criminal No.     22-021 (CKK)
                                                      :
       v.                                             :        Violation:
                                                      :
                                                      :        26 U.S.C. § 7201 (Tax Evasion)
CHARLES D. SQUIRES,                                   :
                                                      :
                Defendant.                            :
                                                      :

                                  STATEMENT OF OFFENSE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and the defendant, CHARLES D. SQUIRES (hereinafter, “SQUIRES”),

agree and stipulate to the facts presented below. These facts are presented for the purpose of

demonstrating there is a factual basis for SQUIRES’s guilty plea pursuant to Federal Rule of

Criminal Procedure 11, and do not represent all of the evidence that could have been presented at

a trial. At all times relevant to this Statement of Offense:

       A.       Background

       1.       At all relevant times, CHARLES D. SQUIRES, the defendant, was a United

States citizen who lived in Ashland, Oregon, and intermittently London, England and Dubai,

United Arab Emirates. Starting in or about 2003, SQUIRES was an independent contractor for a

United States Department of Defense contractor (“Company-1”) as the Director of Operation for

Company-1’s operations in Kyrgyzstan, Afghanistan, and the Middle East. SQUIRES returned

to Oregon in the Spring of 2012, where SQUIRES acted as a consultant and continued to receive

payment from Company-1. SQUIRES became the interim Chief Executive Officer of Company-

1 in or about February 2015 for approximately six months, working out of the Dubai
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headquarters. Thereafter, after returning to Oregon, SQUIRES acted as a consultant to and

continued to receive payment from Company-1 from August 2015 until at least July 2020.

       B.       Offense Conduct

       2.       Starting in or about 2003, SQUIRES acted as the chief operations officer for

Company-1, first in London and then later in Dubai. His compensation package included both

salary payments and bonus payments. SQUIRES directed that most of his income be transferred

via wire transfer to domestic bank accounts in Oregon. However, SQUIRES also received tens

of thousands of dollars in “in country” payments and also caused funds to be wire-transferred

directly from Company-1 to a contractor working on SQUIRES’s properties in Oregon and to a

bank to pay off a mortgage loan held by SQUIRES and his spouse.

       3.       For each of the tax years 2010 through 2019, SQUIRES filed false and fraudulent

federal income tax returns. These returns were filed jointly with his spouse on or about the dates

listed below, which were prepared by a paid return preparer. Despite specific questions each

year by his return preparers about his income, SQUIRES provided false and incomplete

information to them about the amount of the salary and bonus from Company-1 for each of the

years 2010 through 2019, resulting in the underpayment of his taxes in each of those years.

                                         CONCLUSION

       From 2010 through 2019, SQUIRES filed false and fraudulent income tax returns, failing

to report more than $1.8 million in salary and bonus income from Company-1. The tax loss for

those years is as follows:
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                             Approximate
                                                   Omitted           Tax Due and
              Tax Year       Filing Date of
                                                 Gross Income          Owing
                               Tax Return
                2010         May 10, 2011           $326,758.00           $117,514.00
                2011          July 18, 2012          105,421.00             47,000.00
                2012         June 19, 2013           602,296.00            218,846.00
                2013         April 15, 2014          231,000.00             82,291.00
                2014        October 13, 2015         136,000.00             45,907.00
                2015         August 2, 2016          315,392.00            115,569.00
                2016         April 15, 2017           36,000.00             13,339.00
                2017          June 4, 2018            24,000.00              9,506.00
                2018          July 14, 2019           24,000.00              8,744.00
                2019          July 30, 2020           24,000.00              7,364.00

                Total                             $1,824,867.00           $666,080.00
SQUIRES knowingly and willfully evaded the above-listed taxes due and owing for the years

2010 through 2019. SQUIRES committed the affirmative acts of evasion of providing his return

preparer with false and incomplete information and filing false and fraudulent income tax returns

that omitted the income, as detailed above.

                                              STUART M. GOLDBERG
                                              Acting Deputy Assistant Attorney General


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